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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) TERRY PHILLIP CROW                             )
                                                     )
         Plaintiff,                                  )
                                                     )
  v.                                                 )   Case No. 17-cv-548-JED-FHM
                                                     )
  (1) OLD REPUBLIC GENERAL                           )   Tulsa County Case No. CJ-2017-3461
  INSURANCE CORPORATION; and                         )
  (2) GALLAGHER BASSETT SERVICES,                    )
  INC.                                               )
                                                     )
         Defendants                                  )

        DEFENDANT OLD REPUBLIC GENERAL INSURANCE CORPORATION’S
                          NOTICE OF REMOVAL

  TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant Old Republic General Insurance Corporation (“Old Republic”) and files this

  Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and would show this Court

  as follows:

                                        I. BACKGROUND

         1.      On or about August 30, 2017, Plaintiff brought this action by filing its Plaintiff’s

  Original Petition (“Original Petition”) in the District Court of Tulsa County, Oklahoma, cause

  number CJ-2017-03461 (“State Court Action”).

         2.      Terry Phillip Crow alleges he was injured while driving in the scope of his

  employment. He further alleges the tortfeasor was underinsured and he sought benefits from the

  UM/UIM policy with Old Republic. Defendant Gallagher Bassett Services, Inc. (“Gallagher

  Bassett”) assisted Old Republic with Crow’s UM/UIM claim. As a result of the alleged injuries,

  Crow sues Defendants for (a) breach of contract, (b) breach of the duty of good faith and fair

  dealing, and (c) punitive damages. Id. Crow seeks in excess of $75,000 in damages. Id.
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         3.      Both Defendants were served the Original Petition and the citations on September

  5, 2017. This Notice of Removal is being filed on September 28, 2017.

                                 II. GROUNDS FOR REMOVAL

         A.      Diversity

         4.      This Court has original jurisdiction under the provisions of 28 U.S.C. § 1332,

  because there is complete diversity of citizenship between Crow, who is a citizen of Oklahoma,

  and both Defendants, which are citizens of other states.

         5.      Plaintiff Terry Crow, an individual, is an Oklahoma citizen as he resides in Tulsa

  County, Oklahoma.

         6.      Defendant Old Republic is an Illinois corporation with its principal place of

  business in Illinois. A corporation is deemed to be a citizen of the state in which it is

  incorporated and in which it has its principal place of business. See 28 U.S.C. §1332(c)(1).

         7.      Defendant Gallagher Bassett is a Delaware corporation with its principal place of

  business in Illinois. A corporation is deemed to be a citizen of the state in which it is

  incorporated and in which it has its principal place of business. See 28 U.S.C. §1332(c)(1).

         8.      Therefore, there is complete diversity because Crow is a citizen of Oklahoma

  whereas the two Defendants are citizens of Illinois and Delaware.

         B.      Procedural Matters

         9.      Plaintiff is seeking damages in excess of $75,000 from Defendants; therefore, the

  amount in controversy in this matter exceeds $75,000, the jurisdictional requirement of 28

  U.S.C. §§1332, 1446(c)(2).

         10.     Plaintiff did not demand a jury in the State Court Action.

         11.     Pursuant to 28 U.S.C. § 1446(a) and Local Civil Rule 81.2, a copy of all process,



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  pleadings, and orders filed in the State Court Action, including the State Court docket sheet, are

  attached hereto as Exhibit “A”.

         12.     Defendant Gallagher Bassett consents to the removal of the State Court Action

  per 28 U.S.C. §1446(b)(2) as evidenced by the Consent form attached hereto as signed by their

  counsel, attached hereto as Exhibit “B”.

         13.     As required by 28 U.S.C. § 1446(d), Defendants, the removing parties, will

  promptly give all parties written notice of the filing of this Notice of Removal and will promptly

  file a copy of this Notice of Removal with the clerk of the District Court for Tulsa County,

  Oklahoma, where the State Court Action is currently pending.

         14.     This case is being removed by Defendants in the interests of justice and not for

  the purpose of delay.

                                             PRAYER

         WHEREFORE, Defendant Old Republic respectfully requests that the above-entitled

  State Court Action be removed from the District Court of Tulsa County, Oklahoma, to the

  United States District Court for the Northern District of Oklahoma.

                                               Respectfully submitted,


                                               /s/Curtis J. Roberts
                                               Curtis J. Roberts, OBA #19923
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                                               and




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                                                ATTORNEYS FOR DEFENDANT
                                                OLD REPUBLIC GENERAL INSURANCE
                                                CORPORATION

                                  CERTIFICATE OF SERVICE

          I certify that on the 28th of September, 2017, I electronically filed the foregoing document
  with the clerk of the Court for the United States District Court, Northern District of Oklahoma,
  using the CM/ECF system, which will then send a notification of such filing to the following:

  Donald E. Smolen, II
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                                                /s/Curtis J. Roberts
                                                Curtis J. Roberts




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